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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


SHAWN ZEDZIE,

          Plaintiff,                           Case No. 2:16-cv-10944-AJT-RSW
                                               Hon. Arthur J. Tarnow
v.

CARSON SMITHFIELD, LLC,

          Defendant.


BRIAN P. PARKER, P.C.                         DICKINSON WRIGHT PLLC
Brian P. Parker (P48617)                      Amy Sabbota Gottlieb (P67020)
Attorneys for Plaintiff                       Attorneys for Defendant
2000 Town Center, Suite 1900                  2600 West Big Beaver Rd., Suite. 300
Southfield, MI 48075                          Troy, MI 48084
(248) 642-6268                                (248) 433-7286
brianparker@collectionstopper.com             agottlieb@dickinsonwright.com


          STIPULATED ORDER OF DISMISSAL WITH PREJUDICE
             AS TO DEFENDANT CARSON SMITHFIELD, LLC


         The Parties hereto having so stipulated,

         IT IS HEREBY ORDERED that Plaintiff Shawn Zedzie’s claims against

Defendant Carson Smithfield, LLC are dismissed in their entirety, with

prejudice, the parties to bear their own costs and fees.

         SO ORDERED.

                                            s/Arthur J. Tarnow
                                            US DISTRICT COURT JUDGE
Dated: June 15, 2016



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Approved as to form:


/s/ Brian P. Parker                          /s/ Amy Sabbota Gottlieb
Brian P. Parker (P48617)                     Amy Sabbota Gottlieb (P67020)
BRIAN P. PARKER, P.C.                        DICKINSON WRIGHT PLLC
2000 Town Center, Suite 1900                 2600 West Big Beaver Rd., Suite 300
Southfield, MI 48075                         Troy, MI 48084
(248) 642-6268                               (248) 433-7286
brianparker@collectionstopper.com            agottlieb@dickinsonwright.com

Attorneys for Plaintiff                      Attorneys for Defendant



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